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                                TABLE OF EXHIBITS
                          TO DECLARATION OF MICAH WEST

Ex.   Document                                                        Web Location
A     Randolph County Bail Schedule                                   N/A
B     Sample Bail Orders                                              N/A
C     New Jersey Administrative Office of the Courts, First Quarter   http://www.judiciary.sta
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      (May 4, 2017)                                                   050417c.pdf
D     Jail Logs                                                       N/A
E     Martinez v. City of Dodge City,                                 N/A
      15-CV-9344-DDC-TJJ (D. Kan. Apr. 26, 2016)
F     Statement of Interest of the United States (“U.S. SOI”),        N/A
      Varden v. City of Clanton, No. 2:15-cv-00034, ECF 26 (M.D.
      Al. Feb. 13, 2015)
G     Br. for the United States as Amicus Curiae in Support of        N/A
      Pl.-Appellee, Walker v. City of Calhoun, No. 16-10521-HH
      (11th Cir. Aug. 18, 2016)
H     ABA Standards for Crim. Just.: Pretrial Release                https://goo.gl/ipWB5b
I     Christopher T. Lowenkamp et al., Laura and John Arnold         http://www.arnoldfound
      Foundation, Investigating the Impact of Pretrial Detention on  ation.org/wp-
      Sentencing Outcomes (November 2013)                            content/uploads/2014/02
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J     Megan Stevenson, Distortion of Justice: How the Inability to https://goo.gl/riaoKD
      Pay Bail Affects Case Outcomes (Jan. 8, 2017)
K     Arpit Gupta et al., The Heavy Costs of High Bail: Evidence https://goo.gl/OW5OzL
      from Judge Randomization (Aug. 18, 2016)
L     Timothy R. Schnacke, Dep’t of Just. Nat’l. Inst. of Corrs., https://goo.gl/jr7sMg
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M     Michael R. Jones, Pretrial Justice Institute, Unsecured Bonds: https://goo.gl/UENBKJ
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N     Kevin Litten, New Orleans City Council votes to end jailing of https://goo.gl/gKnJMk
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      12, 2017)
O     Mark Heyerly, Pretrial Reform in Kentucky (Jan. 2013)          https://www.pretrial.org/
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P     Christopher T. Lowenkamp et al., Laura and John Arnold http://www.arnoldfound
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Q      Paul Heaton et al., The Downstream Consequences of https://goo.gl/Waj3ty
       Misdemeanor Pretrial Detention, 69 Stan. L. Rev. 711 (2017)
R      SPLC prompts 50 Alabama cities to reform discriminatory bail https://goo.gl/9iVqRq
       practices, Southern Poverty Law Center (Dec. 6, 2016)
S      Amy Julia Harris, Alabama cities agree to stop jailing people https://goo.gl/1r19Ce
       too poor to post bond, Reveal (Dec. 8, 2016)
T      Kent Faulk, Jefferson County bail reforms aimed at keeping https://goo.gl/l1xLLu
       poor out of jail, Al.com (May 10, 2016)
U      Pretrial Services Agency for the District of Columbia, Release https://goo.gl/VSDeDk
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Y      Affidavit of Substantial Hardship and Order, State of Alabama https://goo.gl/TmyYx4
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AA     Int’l Ass’n of Chiefs of Police, Resolution: Pretrial Release https://goo.gl/a5JUpe
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BB     Pretrial Justice Institute, Pretrial Justice: How Much Does It https://goo.gl/0lLtLM
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CC     United States Court, Supervision Costs Significantly Less than https://goo.gl/dJpDrn
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DD     Peter Wagner & Bernadette Rabuy, Prison Policy Initiative, https://goo.gl/WBi553
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   the Criminalization of Poverty at University of Michigan Law
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JJ Letter from Brian E. Frosh, Maryland Attorney General, to the    https://goo.gl/yXzN1N
   Honorable Alan M. Wilner, Chair, Standing Committee on
   Rules of Practice and Procedure (Oct. 25, 2016)
KK Answer to Pls.’ Third Am. Compl. by Sheriff Vicki Hennessy,      N/A
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LL Caleb Foote, The Coming Constitutional Crisis in Bail: I*,       https://goo.gl/6o7Yeb
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MM Hon. Arthur J. Goldberg, Forward to Ronald Goldfarb,             N/A
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NN President Lyndon B. Johnson, Remarks at the Signing of the       https://goo.gl/g939CD
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OO Christian Henrichson et al., Vera Inst. of Just., The Price of   https://goo.gl/WofwLD
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